FEDERAL LAWSUIT UNDER 42 U.S.C.A. § 1983

IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF TENNESSEE

 

 

 

 

 

DaPart ment

OF Co rh ecyion
On pp TG
| | V iN Defendant(s)

[LIST THE NAMES OF ALL
DEFENDANTS AGAINST
WHOM YOU ARE FILING

THIS LAWSUIT; DO NOT

USE “ET AL” ]

 

 

NASHVILLE DIVISION
Noa Freeman,
)
Prison ID # )
) US DISTRICT COURT
) MID DIST TENN
Prison ID # \S 223 % )
)
3 )
)
Prison ID # )
)
Plaintiff(s) )
)
[LIST THE NAMES OF ALL )
PLAINTIFFS FILING THIS ) .
LAWSUIT; DO NOT USE ) 03-22 0963
SRT AL” ] )
)
) CIVIL ACTION NO.:
f) ) [To be assigned by the Clerk’s Office.
T e ) / E SSE C_, ) Do not write in this Blank.]
)
)
)
)
)
)
)
)
)
)
)
)

(IF YOU NEED MORE SPACE TO LIST OTHER PLAINTIFFS AND/OR DEFENDANTS, SO INDICATE AND ATTACH
A SEPARATE SHEET OF PAPER.)

COMPLAINT FOR VIOLATION OF CIVIL RIGHTS
UNDER 42 U.S.C.A, § 1983

- 4
Case 3:22-cv-00963 Document1 Filed 11/30/22 Page 1 of 16 PagelD #: 1

 
1. PREVIOUS LAWSUITS

A. Have you or any of the other plaintiffs listed above filed any other lawsuits in
the United States District Court for the Middle District of Tennessee and/or
any other state or federal court? J

B. If you answered YES to Question A, list the following information:
(if you have filed more than one lawsuit, list the additional lawsuits on
another sheet of paper, using the same outline as below.)

Yes No

1. Parties to previous lawsuit:

Plaintiffs:

Aff
Defendants: / J / H \

 

 

 

 

2. In what Court did n/ ‘/ the xe lawsuit?

 

(If Federal Court, MI the District; if State Court, name the county.)

  
 

 

 
  

3, Case Number of the previoys lawsuit:

 
 

4. Name of/the Judgeo whdm the gase was assigned:

 

5. When did you file the revious lawsuit?

 

 

 

 

2
Case 3:22-cv-00963 Document1 Filed 11/30/22 Page 2 of 16 PagelD #: 2

 
i.

8. Did the previous lawsuit involve the same facts or circumstances that you
are alleging in the lawsuit yourare now submitting?

   

Yes ~

(if you hawe filed one prior lawsuit, list the additional lawsuit(s)
on a se provide the same information for the
additio

PLACE OF PLAINTIFF(S) CURRENT CONFINEMENT: (The following

information must be provided by each inmate plaintiff.)

A. Name and address of the prison or jail in which you are currently incarcerated:
LoiS m Pete SPecra | Wee dy
Facijity TDec

7575 Cocehli bend Boul

B. Are the facts of your lawsuit related to your present AS
Yes VY eS Cad ae Ge -

C. If you answered NO to Question B, list the name and address of the jail or
prison to which the facts of your lawsuit relate:

 

 

 

 

D. Do the facts of“your lawsuit relate to your confinement in a Tennessee State
prison?

Yes No
If you checked “No”, proceed to question II H.

E. If you answered YES to Question D, did you present these facts to the prison
authorities throtigh the state prisoner grievance procedure?

Yes No

F. If you answered YES to Question E above:

3
Case 3:22-cv-00963 Document1 Filed 11/30/22 Page 3 of 16 PagelD #: 3

 
1. What steps did you take: T & / l) () E p oF

Coffectroyn rn nae A Elan,

2. What was the result: Tha AV CO ACY fs
With the SuoPpehvirsersr

G. If you answered “No” to Question E above, explain why not:

 

 

H. Do the facts of your lawsuit pertain to your confinement in a detention facility
operated by city or county law enforcement agencies (jail, workhouse, etc.)?

Yes No /

I. If you checked “Yes” in H above, Mave you presented these facts to the
authorities who operate the detentiory facility?

Yes No

 

J. If you checked “

in I aboves
1. What steps did you take? /

2. What jwas the res f the prt facility?
| / | S

K. If you checked “No” in I above, bsp why not.

  
 

 

 

 

 

 

(Attach copies of all grievance related materials including, at a minimum, a copy of
the grievance you filed on each issue raised in this complaint, the prison’s or jail’s
response to that grievance, and the result of any appeal you took from an initial
denial of your grievance.)

4
Case 3:22-cv-00963 Document1 Filed 11/30/22 Page 4 of 16 PagelD #: 4

 
II. PARTIES TO THIS LAWSUIT

A. Plaintiff(s) bringing this lawsuit:

1. Name of First Plaintiff: NO al - [ eC EM q
Prison ID Number of First oa Cy “A VD. 3 C

Address of First Plaintiff: / 7 7 4 C OC [2 ( |
Mens Boulevatd ppashvilie
+N 57704-1057

(Include name of institution and mailing address)

 

 

 

 

2. Name of Second Plaintiff:

 

Prison ID Number of Second Plaintiff:

 

Address of Second Plaintiff:

 

 

 

(Include name of institution and mailing address)

3, Name of Third Plaintiff:

 

Prison ID Number of Third Plaintiff:

 

Address of Third Plaintiff:

 

 

 

(Include name of institution and mailing address)

IF THERE ARE MORE THAN THREE PLAINTIFFS, LIST THEIR NAMES, PRISON
IDENTIFICATION NUMBERS AND ADDRESSES ON AN ATTACHED SHEET OF
PAPER.

5
Case 3:22-cv-00963 Document1 Filed 11/30/22 Page 5 of 16 PagelID #: 5

 
B. Defendants Against Whom You Are Filing This Lawsuit:

ea my
1. Name of First Defendant: | 4 [) a O , C

Place of Employment of First Defendant: D O ° C

L Floof Rache TACESoA bie

 

 

| ~ pth
Address of First Defendant: 3 Ve b AY & N 8 [* + l,

 

fashville TN 27943

 

2. Name of Second Defendant: Ai ( + {V\ Ah 4 G eC L ov (AG

Place of Employment of Second Defendant: T < D OL

 

Address of Second Defendant: / 5 7D C VOCE (* l (
bend bou) MAS wil

3, Name of Third Defendant:

 

Place of Employment of Third Defendant:

 

 

Address of Third Defendant:

 

 

Named in official capacity? \/_ YES NO
YES

Named in individual capacity? NO

IF YOU ARE BRINGING THIS LAWSUIT AGAINST MORE THAN THREE
DEFENDANTS, YOU MUST LIST EACH DEFENDANT’S NAME, PLACE OF
EMPLOYMENT, ADDRESS, AND THE CAPACITY ON WHICH YOU ARE SUING
THEM, ON AN ATTACHED SHEET OF PAPER.

IF YOU DO NOT LIST EACH DEFENDANT’S NAME, ANY SUCH DEFENDANT
WILL NOT BE INCLUDED IN YOU LAWSUIT; IF YOU DO NOT LIST EACH
DEFENDANT’S NAME, PLACE OF EMPLOYMENT AND ADDRESS, THE CLERK
WILL NOT BE ABLE TO SERVE ANY SUCH DEFENDANT SHOULD PROCESS
ISSUE.

6
Case 3:22-cv-00963 Document1 Filed 11/30/22 Page 6 of 16 PagelD #: 6

 
 

IV. STATEMENT OF YOUR CLAIM

State as briefly as possible the facts of your case. Recite the dates when any
incidents or events occurred, and the places where such incidents or events took
place. Describe how each defendant is involved. Also include the names of other
persons involved and the dates and places of their involvement.

If you set forth more than one claim, number each claim separately and set forth
each claim in a separate paragraph:

 

 

 

 

 

 

 

i am af -)- 0.0
comate Fimate ap phe
cosep Fulean in yD Con Nh
Gu + boo le LPom The
Lippaly Fo gm A Mmenal
hélth ifAmape and beihg
loc (nh a cell With, _ ‘Vo

 

eee book ihepeses The

Fipely eo J ot a mental

vtaclt downs The Fegera
Fuging Yol Lib trty
book and Leow Ade ate
poof beimyg otfFefed +o
US. This 1S AW auf Aly
UNS? 6 the (dn) A Mere
do Sati be Acy Pures of
Cont [fh ene t

IF YOU NEED ADDITIONAL SPACE, ATTACH SEPARATE SHEET(S) OF PAPER

 

 

7
Case 3:22-cv-00963 Document1 Filed 11/30/22 Page 7 of 16 PagelD #: 7

 
 

V. RELIEF REQUESTED: List what you want the Court to do; list what relief you
seek against each defendant:

A. Penalyy re

B. PAY moNey + of Pain and S FFE jg
menace Them To Jo Right |
dD ANA A Pub{Ec A Pology-

E,

I request a Jury Trial: Yes % No

 

I (we) hereby certify under penalty of perjury that the above complaint is true to the best
of my (our) information, knowledge and belief.

Signed this “ho day of KL 2 \e , 20 2

Signature: KOO) = foe

printed Name: WO AM F [ Cemarh

Prison ID Number: ‘3 qa 3%

address: PKG Coc}; \\

bens Boul NAShY NM TA
(Include city, state and zip code) 2 79 6 q

Signature: (yn QLy- 7 AZ

Printed Name: Af o aN r Cf C LV Ab

moran,

Prison ID Number: S “, > y 3 SS

~~ Address:

 

 

 

(Include city, state and zip code)

8
Case 3:22-cv-00963 Document1 Filed 11/30/22 Page 8 of 16 PagelD #: 8

 
 

Signature:

 

Printed Name:

 

Prison ID Number:

 

Address:

 

 

(Include city, state and zip code)

ALL PLAINTIFFS MUST SIGN THE COMPLAINT. If there are more than three
plaintiffs, attach additional signatures with prison identification numbers and addresses.

ALL _ PLAINTIFFS MUST COMPLETE, SIGN, AND DATE SEPARATE
APPLICATIONS TO PROCEED IN FORMA PAUPERS. If not paying the civil
filing fee.

SUBMIT. THE COMPLAINT, THE REQUIRED FILING FEE (OR THE
APPLICATION TO PROCEED IN FORMA PAUPERS) TOGETHER, Complaints
received without the required filing fee or application to proceed in forma pauperis will
be returned.

 

Plaintiff(s) would request for a SUMMONS packet, U.S.
Marshal Form 285, and any other necessary documents
to be issued to he/they once the case is opened.
Plaintiff(s) will return these forms in order to be signed
and sealed so they may be attached to the complaint
and then issued to the Defendants named upon the
summons and listed within this complaint.

9
Case 3:22-cv-00963 Document1 Filed 11/30/22 Page 9 of 16 PagelD #: 9

 
DECLARATION OF MAILING

I, MI UV “A Ih lire Err NY , declare under penalty of perjury that the

foregoing 42 U.S.C.A. § 1983 complaint for civil rights violation, along with the correct

 

amount of copies for each defendant named in the complaint, has been sent/given to the
Institutional Mailroom where I am currently housed at with sufficient Postage to reach the

below described designation.

Court Name/Address: L b / 5 COC Ee [* | | [
send ether
NASH VifLe Tw
2% 709

 

 

 

 

On this the JO , day of /\/ O \/ 20.77

 

 

 

~ (Signature)
NOt (ce anh

— 2572 Cod¥)\ \

 

 

(Institutional Name and Address)

10
Case 3:22-cv-00963 Document 1 Filed 11/30/22 Page 10 of 16 PagelD #: 10

 
    

Nr
TENNESSEE DEPARTMENT OF Correction WU 3.0) 20;

 

be Ie
INMATE GRIEVANCE US DIS TAICP & Ours (SS oO ( 2.
MAD DIST TE “ALA :
Noah Freerap bIAADRSE SPVD 7dI/
NAME NUMBER INSTITUTION & UNIT

 

 

DESCRIPTION OF PROBLEM: + 7D. — GN | 6 ~V~ 3 fo"
[O-2S-9> The beets was TOcFing

 

 

 

 

 

 

 

 

 

 

of US. We Can't have bao es ~
REQUESTED SOLUTION: Te Gaye WS O° [Z S bac lt
£
: SABE Or > S~2- 2
Signature of Grievant ~ * Date
oc eceseeeeeesessenceceecescecdpeeeceseereesesezeceneceeeeeeeceeceressedbecaseeceses,
TO BE COMPLETED BY GRIEVANCE CLERK

, ~—
3S 63 (Ss la AY de, is
Grievance Number Date Received Signature Of Grievance Clerk

INMATE GRIEVANCE COMMITTEE’S RESPONSE DUE DATE:
AUTHORIZED EXTENSION:

 

 

New Due Date

 

Signature of Grievant

Sem Bw ee ws BB Eee eee we ee eee eee Be Eee eee ee
S MOAR ESR SSS SERS SR RSS SSS SSS SS SSSR ASSES SSSR STS SSS STS SE:

INMATE GRIEVANCE RESPONSE

Summary of Supervisor's Response/Evidence: See CR - Ns

Chairperson’s Response and Reason(s):

 

v

pate: \\ | ) [ao CHAIRPERSON: _ @e Nf _ |

\
Do you wish to appeal this response? YES Xx : NO
If yes: Sign, date, and return to chairman for processing within five (5) d i i

ys of receipt of first-level response.

Kaoo (Wt

DATE

 

 

WITNESS

Distribution Upon Final Resolution:

White-daeae:Sreaut OCemy - Waren eritkt GRekeccd CdR Feagenrhd -otchimistagel(D appiitdbie)

CR-1394 (Rev. 3-00) Page 1 of 2 RDA 2244

 
. TENNESSEE DEPARTMENT OF CORRECTION ,
RESPONSE OF SUPERVISOR OF GRIEVED EMPLOYEE OR DEPARTMENT

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

DATE: Piease respond to the attached grievance, indicating any action taken.
Date Due:
OMEN tun 542222
Grievance Number Inmate Name " "Inmate Number
¥foM phe. i6falyY ofr from
thé [Cc ab Po PSee This is Un | awFut)
unde The ArpA\ AMPECN Can di SAL Lith) -
AAC+. ang 1S ine pesing th 2. Cie heed
o* & MEN sa) ib FAA. -Edown, the Loi@c
was Taing by The = Unt Man quel ©
ov /\ WP th eraPS+- T.B0 bit Fedefay-
Founding Fol The  Libfefy To aWVe us
ACE ASS +6 boo \ei5 AN begn| A “crss,
Bs x
O, “9,
SD ZB
[/\ ee
AS
TTA
Vas =
—}- LZ ~
CQ) KS
ELE
Lf
ef
SIGNATURE RATE

Cadeitg -anmetg-ORgms Taranunianes Pied GrbyeaComPidepe 1Goidénics PEqpemniissi#nel 2

CR-3148 (Rev. 3-00) RDA 2244

 
Tennessee Department of Corrections |
Response of Supervisor of Grieved Employee or Department Se"

q et

DATE: _ Thursday, November 03, 2022 Please respond to the attached grievance, indicating any action taken.
Date Due: 11/08/2022

 

 

 

 

 

uw. 956315155127 ~~ Noah Freeman. ne Br EODDaR :
Grievance Number Inmate Name Inmate Number
DT. Contr ‘with the Super Vigo 's .
__yespose . fly long as the ‘Dodules_cure '
chil pewng : erect” fo athenders _ there

 

LS vo Meed do tse +he bok Cott .
if the usage of te Poow cart ay
Wretng, abused \

 

 

 

 

 

 

 

 

 

ARN
A ound’ Chae Fre a |
/ (ys LEY j2z
“SIGNATURE Ct "DATE
White- Inmate Grievant Canary- Warden Pink- Grievance Committee Goldenrod-Commissioner
CR-3148 (Rev, 3-00) RDA 2244

Case 3:22-cv-00963 Document1 Filed 11/30/22 Page 13 of 16 PagelD #: 13

 
 

“TO Clet L Vhs Wi |]
plesS Fy | ANG yall
Me “A CoPy Than ~€ You

 

 

 

RECEIVED Nor
NOV 30 2022 — Fleemcah

 

US DISTRICT COURT IN ) Se
hHS-EHSI-FEMN
7
[ |-o-2
rt

NMEA! Z0

 

 

 

Case 3:22-cv-00963 Document1 Filed 11/30/22 Page 14 of 16 PagelD #: 14

 
 

RECEIVED |
— Noveomm

 

 

 

Case 3:22-cv-00963 Document 1 Filed 11/30/22 Page 15 of 16 PagelD #: 15

 
 

 
